                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:11-CR-1
 v.                                                   )
                                                      )       Chief Judge Curtis L. Collier
 AMILCAR LERDO                                        )
      also known as “Marino Morales Deleon”           )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the two-count Second

 Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Second

 Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of

 the Second Superseding Indictment; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter

 (Court File No. 129). Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Court File No. 129) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Second

                Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Second Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Second Superseding Indictment;




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       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, November 3, 2011 at 2:00 p.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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